             EXHIBIT F




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By Email                                                                                                               Allen & Overy LLP
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                                                                                                                       Al Mustaqbal Street
Stephenson Harwood LLP
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For the attention of John Fordham                                                                                      Tel                        +971 (0)4 4267100
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Our ref                          YF/0126062-0000004 DBO1: 2000543412.1

16 September 2020

Dear Sir or Madam

Mr Stuart Page

1.           We understand from Mr Jamie Buchanan that your client, Mr Stuart Page, has made a number of
             statements in communications that he had with Mr Buchanan in August and September 2020 that
             appear to refer to our clients, the Ruler and the Government of Ras Al Khaimah.

2.           We also understand that Mr Buchanan informed your client that Mr Buchanan had obligations to report
             such statements to representatives of our clients. Accordingly, we note that your client may have
             intended that his statements would be relayed to our clients.

3.           Our clients are concerned to understand what information your client intended to relay by his
             statements to Mr Buchanan. In particular, we should be grateful if your client would provide us with
             his explanation for the following statements:

             (a)           your client referred to English High Court proceedings that have been commenced against
                           him by Stokoe Partnership Solicitors and said: “if I have to implicate Nick / Patrick, Decherts,
                           Neil and the boss to get me out of this I will.” We understand that your client’s reference to
                           “the boss” is intended to be a reference to the Ruler.

                           Please can your client explain what information, facts or evidence your client had in mind and
                           how he believes this implicates or otherwise relates to the Ruler.

             (b)           your client sent Mr Buchanan a Financial Times article titled “FBI investigates deaths of
                           mining executives in UK corruption probe” and said “The boss should see this”.

                           Please can your client explain why he wanted the Ruler to see this article.

             (c)           your client said: “what with the boss refusing to cover my costs I wish quite frankly I took the
                           ENRC offer”.




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                   Please can your client explain what he is referring to as “the ENRC offer”.

        (d)        your client said: “As you know our mutual friend is here can we please meet, not only to
                   discuss this issue but to discuss a business opportunity which the boss will really be interested
                   in”.

                   Please can your client confirm who he is referring to as “our mutual friend” and what he is
                   referring to as the “business opportunity”.

        (e)        your client made a number of statements as to his intended future conduct including:

                   (i)     “FYI I am planning to go and see Alex Ibragimov as soon as I can to ask him what he
                           wants from me to back off and leave me alone”;

                   (ii)    “regrettably Jamie I would have to say you know Nick and Patrick and that Nick was
                           retained long before me and reported to at least in part to Neil.”; and

                   (iii)   “I will stand my ground if I am supported I will not if I am quite frankly treated this
                           way”.

                   Please can you client confirm whether any of the above statements were intended to relate to
                   the Ruler or the Government of Ras Al Khaimah; and, if ‘yes’, please can your client explain
                   what his intended actions were/are in respect of each relevant statement.

4.      We note that some of your client’s messages to Mr Buchanan appear to refer to our communications
        in respect of your client’s request that our clients fund his legal costs. As we have discussed previously
        (e.g. in the telephone calls between Mr Francis of our office and Mr Fordham of your office on 15 and
        17 July 2020): our clients rejected your client’s request and noted that the legal proceedings against
        your client have nothing to do with our clients; and, your client has confirmed that he has never been
        instructed by our clients to do any work in relation to Karam Al Sadeq, nor his lawyers, nor the
        proceedings that have been brought against Neil Gerrard and Dechert (amongst others).

5.      In view of the messages that your client has sent to Mr Buchanan (as described above), our clients are
        concerned that your client should not engage in any communications with third parties or otherwise
        take any steps that would breach his obligations under the agreement dated 15 June 2020 (the
        Agreement, a copy of which is enclosed). It should be clear that, whilst our clients are concerned to
        protect their confidential information, our clients have no wish to restrict your client’s ability to defend
        himself in any of the legal proceedings that have been commenced against him. This should not be an
        issue since, as noted above, the proceedings against your client do not have anything to do with our
        clients. In any event, the Agreement sets out the agreed process that must be followed in the event
        that your client is requested or obliged to disclose any of our clients’ confidential information. We
        would also note, for the avoidance of doubt, that there is no restriction on your client’s ability to make
        a legitimate report to any relevant criminal authority or regulator.

6.      In order to avoid any misunderstanding, please can your client confirm whether he has complied with
        his obligations under the Agreement to date. We should also be grateful if your client would also
        confirm that he will continue to comply with his obligations under the Agreement going forward.

7.      Finally, we refer to our email dated 2 September 2020, and our repeated request that your client
        confirms that he will refrain from seeking to make contact with the Ruler directly or through any third
        parties. We should be grateful if your client would respond to that request, noting that your client
        should send any communications that he wishes to send to the Ruler to Allen & Overy LLP as the
        relevant legal representative (marked for the attention of Yacine Francis).

Yours faithfully

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Encl




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